 Case 1:08-cr-00040-SPM-GRJ         Document 96   Filed 10/22/09      Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                   CASE NO.: 1:08cr40-SPM

ROBERT ANTHONY PARKER,
a/k/a Tony Parker,

           Defendant.
____________________________/

             ORDER GRANTING MOTION TO FILE UNDER SEAL

      This cause comes before the Court on Defendant Robert Anthony

Parker’s Unopposed Motion to Seal Motion to Adopt Defendant Yearty’s Motion

in Limine. Doc. 95. Upon consideration, it is

      ORDERED AND ADJUDGED:

      1.     The motion (doc. 95) is granted.

      2.     When submitted, the clerk shall file under seal Defendant Robert

Anthony Parkers’ motion to adopt.

      DONE AND ORDERED this 22nd day of October, 2009.




                                     s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 Chief United States District Judge
